Case 18-60762-jwc         Doc 21   Filed 10/30/18 Entered 10/30/18 08:49:31            Desc Main
                                   Document      Page 1 of 1




  IT IS ORDERED as set forth below:



   Date: October 29, 2018
                                                    _________________________________

                                                              Jeffery W. Cavender
                                                         U.S. Bankruptcy Court Judge
                UNITED STATES BANKRUPTCY COURT
 ________________________________________________________________
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


IN RE:                                     |       CASE NO. 18-60762
                                           |
SELENA MAUREEN BRUMFIELD                   |       CHAPTER 13
                                           |
                                           |       JUDGE CAVENDER
               Debtors.                    |


               ORDER VACATING ORDER AND REOPENING CASE

         This matter is before the Court upon review of its docket. On October 25, 2018,

the Clerk’s Office entered in error an order entitled “Order Approving Account,

Discharging Trustee and Closing Estate” (Doc. No. 19) in this Chapter 13 case.

         It is hereby ORDERED, that the Order entered on October 25, 2018 is

VACATED and the case is reopened. The Clerk is directed to enter the correct closing

order and reclose the case.

         The Clerk is directed to serve a copy of this order upon Debtors, Debtors’

Attorney, Trustee, and all creditors and parties in interest.

                                     END OF ORDER



                                               1
